  22-01138-mew
Case              Doc 4 Document
     1:22-cv-22538-RKA   Filed 08/22/22    Entered
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                                                       FLSD Docket22:20:26      Main Document
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                          Hearing Date: September 13, 2022, at 11:00 a.m. (prevailing Eastern Time)
                              Objection Deadline: September 6, 2022, at 4:00 p.m. (prevailing Eastern Time)


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   Counsel to the Debtors and
   Debtors in Possession

   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK


   In re:
                                                          Chapter 11
   VOYAGER DIGITAL HOLDINGS, INC. et al.,
                                                          Case No. 22-10943 (MEW)
                                                          (Jointly Administered)
                         Debtors.


   VOYAGER DIGITAL HOLDINGS, INC. et al.,

                         Plaintiffs,

            v.                                            Adv. Pro. No. 22-01138 (MEW)

   FRANCINE DE SOUSA, et al,

                         Defendants.


                                NOTICE OF HEARING OF
                  THE DEBTORS’ MOTION TO EXTEND AUTOMATIC STAY OR,
                 IN THE ALTERNATIVE, FOR INJUNCTIVE RELIEF ENJOINING
                 PROSECUTION OF CERTAIN PENDING LITIGATION AGAINST
                         THE DEBTORS’ DIRECTORS AND OFFICERS

            PLEASE TAKE NOTICE that a hearing on the Debtors’ Motion to Extend Automatic

   Stay or, in the alternative, for Injunctive Relief Enjoining Prosecution of Certain Pending




                                          EXHIBIT "A"
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  Litigation [Docket No. 2] (the “Motion”) will be held on September 13, 2022, at 11:00 a.m.,

  prevailing Eastern Time (the “Hearing”). In accordance with General Order M-543 dated March

  20, 2020, the Hearing will be conducted telephonically. Any parties wishing to participate must

  do so by making arrangements through CourtSolutions by visiting https://www.court-

  solutions.com.

         PLEASE TAKE FURTHER NOTICE that any responses or objections to the relief

  requested in the Motion shall: (a) be in writing; (b) conform to the Federal Rules of Bankruptcy

  Procedure, the Local Bankruptcy Rules for the Southern District of New York, and all General

  Orders applicable to chapter 11 cases in the United States Bankruptcy Court for the Southern

  District of New York; (c) be filed electronically with the Court on the docket of In re Voyager

  Digital Holdings, Inc. v. Pierce Robertson, et al., Adv. Pro. No. 22-01138 (MEW) by registered

  users of the Court’s electronic filing system and in accordance with all General Orders applicable

  to chapter 11 cases in the United States Bankruptcy Court for the Southern District of New York

  (which are available on the Court’s website at http://www.nysb.uscourts.gov); and (d) be served

  so as to be actually received by September 6, 2022, at 4:00 p.m., prevailing Eastern Time, by

  (i) the entities on the Master Service List available on the case website of the above-captioned

  debtors and debtors in possession (the “Debtors”) at https://cases.stretto.com/Voyager and (ii) any

  person or entity with a particularized interest in the subject matter of the Motion.

         PLEASE TAKE FURTHER NOTICE that only those responses or objections that are

  timely filed, served, and received will be considered at the Hearing. Failure to file a timely

  objection may result in entry of a final order granting the Motion as requested by the Debtors.

         PLEASE TAKE FURTHER NOTICE that copies of the Motion and other pleadings

  filed in these chapter 11 cases may be obtained free of charge by visiting the website of Stretto at




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  ********cases.stretto.com/Voyager. You may also obtain copies of the Motion and other pleadings

  filed in these chapter 11 cases by visiting the Court’s website at http://www.nysb.uscourts.gov in

  accordance with the procedures and fees set forth therein.




  Dated: August 22, 2022
  New York, New York                   /s/ Joshua A. Sussberg
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                                       KIRKLAND & ELLIS INTERNATIONAL LLP
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                                         EXHIBIT "A"
